Case 1:22-cv-00748-PLM-PJG ECF No. 12, PagelD.54 Filed 09/13/22 Page 1 of 2
U.S. Department of Justice FILED - GR PROCESS RECEIPT AND RETURN

 

 

 

; United States Marshals Service Seplenibes tei oe PM See "Instructions for Service of Process by U.S. Marshal"
ER
ESE eee ed U.S. DISTRICT COURT
PLAINTIFF WESTERN DISTRICT OF MICHIGAN COURT CASE NUMBER
Lane Myers BY:JMW SCANNED BY: 44 / 9-13 4:22-cvy-748
DEFENDANT TYPE OF PROCESS
Christopher Wren Summons & Complaint

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE Christopher Wren, Newaygo County Administrator
AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
P.O. Box 885, 1087 Newell St., White Cloud, MI 49349

 

 

 

 

 

 

 

 

 

 

 

   

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be {
served with this Form 285
Lane Myers Number of parties to be 3
1583 Grange Rd served in this case
Trenton, MI 48183 Check for service x
on U.S.A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):
Signature of Attorney other Originator requesting service on behalf of: (] PLAINTIFF TELEPHONE NUMBER DATE
(_] DEFENDANT
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total | Total Process | District of District to Signatures?7pithorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve :
(Sign only for USM 285 if more . ,
than one USM 285 is submitted) 1 No. 040 No, 040 8/30/2022

 

 

 

 

 

 

I hereby certify and return that | [] have personally served , (7) have legal evidence of service, [X] have executed as shown in "Remarks", the process described on the
individual, company, corporation, ete., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

(J [hereby certify and return that | am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

Name and title of individual served (if not shown above) Date Time LJ am
9/8/2022 2:07 [x] pm
Address (complete only different than shown above) Signature pf1).S. Marshal or Deputy

 

 

 

Costs shown on attached USMS Cost Sheet >>
REMARKS

Certified mail.

 

Form USM-285
Rev. 01/21
Case 1:22-cv-00748-PLM-PJG ECF No. 12, PagelD.55 Filed 09/13/22 Page 2 of 2

  

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& Complete items 1, 2, and 3.

@ Print your name and address on the reverse
“so that we can return the card to you.

   

Le CO Agent
C1 Address:*~

 

 

 

® Attach this card to the back of the mailpiece, B. Recelved by (Printed Name) C. Date of Delivery
or on the front if space permits, Anois over yeu, A C/ eft
1. Article Addressed to: D. Is delivery address different from item 1? LJ Yes

4 lf YES, enter delivery address below: Oj No

christopher Wren.
Newaygo County Administrator

 

 

 

 

P.O. Box 885
LU87 Newell St.
Ayla ilies 2
Waite Cloud, MI 49349 3. Service Type 0 Priority Mail Express®
O Adult Signature O Registered Mail™
0 Adult Signature Restricted Delivery o popetered Mail Restricted
D Certified Mail® Delivery
Certified Mail Restricted Delivery O Signature Confirmation™
9590 9402 70 O Collect on Delivery C Signature Confirmation
2. Article Number (Transfer from service label) ze a oes eet Restricted Delivery Restricted Delivery

7020 1250 go000 ?45¢ e275 insured Mall Restricted Delivery
. PS Form 3811, July 2020 PSN DRS, ATL. VE TIS ol ei ek aE
